                             IN THE UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF IOWA
                                                     EASTERN    DIVISION
UNITED STATES OF AMEIRCA                                                      HEARING MINUTES Sealed: No
            Plaintiff(s)                                                      Case No.: 2:21-cr-01016-CJW-MAR-1
      vs.                                                              Presiding Judge: Hon. C.J. Williams
DERRICK DARRYL TRAWICK                                                    Deputy Clerk: Brian Keogh
            Defendant(s)                                         Official Court Record: Patrice Murray     Contract?             No
                                                                  Contact Information: PAMurrayReporting@gmail.com
Date:     1/25/2022 Start:        8:00am   Adjourn:     2:11pm      Courtroom:        1
Recesses:       8:11-8:32am; 10:20-10:40am; 12:15-12pm      Time in Chambers:                  --                Telephonic?     --
Appearances:         Plaintiff(s): AUSAs Dan Chatham and Jason Norwood
                   Defendant(s): Leon F. Spies (defendant appearing personally)
                  U.S. Probation: --
                      Interpreter: --                                Language:                      Certified:          Phone:
TYPE OF PROCEEDING:           TRIAL      X    Jury        Non-jury    Day:        2
                                                                     Contested?       Yes   Continued from a previous date?      Yes
                       Motion(s):                                                           Ruling:
                       Time:             Event:
                         8:00-8:11am     Discussion held outside the presence of the jury. Defendant’s objection to transcript
                                         (admitted as Court Ex. 1) overruled. Recess.
                         8:32-8:47am     Jury enters. Mr. Chatham calls Jeff Breitbach. Direct: 8:33-8:42am. Cross: 8:42-8:45am.
                                         Redirect: 8:46-8:47am. Recross: 8:47-8:47am. Mr. Breitbach excused.
                         8:47-9:30am     Mr. Chatham calls Jason Schaff. Direct: 8:48-9:19am. Cross: 9:19-9:27am. Redirect:
                                         9:28-9:30am. Mr. Schaff excused.
                        9:30-10:20am     Mr. Chatham calls Christopher Meyer. Direct: 9:31-10:19am. Jury excused for break.
                                         Recess.
                       10:40-10:58am     Jury enters. Cross: 10:40-10:54am. Redirect: 10:54-10:57am. Recross: 10:57-10:57am.
                                         Mr. Meyer excused.
                       10:58-11:58am     Mr. Chatham calls Dr. Joshua Pruitt. Direct: 10:59-11:42am. Cross: 11:42-11:53am.
                                         Redirect: 11:54-11:57am. Recross: 11:57-11:58am. Dr. Pruitt excused.
                           11:58am-      Mr. Norwood calls Dan Kearney. Direct: 11:59am-12:12pm. Cross: 12:12-12:14pm.
                           12:14pm       Redirect: 12:14-12:14pm.
                       12:14-12:18pm     Jury excused for break. Discussion held outside the presence of the jury. Recess.
                        12:35-1:15pm-    Jury enters. Mr. Norwood calls David Haupert. Direct: 12:36-1:12pm. Cross: 1:12-
                                         1:15pm. Mr. Haupert excused.
                         1:15-2:08pm     Mr. Norwood calls Adam Williams. Direct 1:15-2:03pm. Jury instructed to disregard
                                         testimony regarding government exhibit 104 at 1:40pm. Cross: 2:03-2:07pm. Redirect:
                                         2:07-2:08pm. Mr. Williams excused.
                          2:08-2:11      Jury excused for the day. Parties to meet at 8:00am tomorrow.
                       Witness/Exhibit List is To be filed at the conclusion of trial.
                       Miscellaneous: Trial to resume tomorrow at 8:30am.




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                Case 2:21-cr-01016-CJW-MAR Document 59 Filed 01/25/22 Page 1 of 1
